               Case 2:21-bk-10327-WB                    Doc 1 Filed 01/15/21 Entered 01/15/21 18:03:27                                     Desc
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Fill in this information to identify your case:

United States Bankruptcy Court for the:

CENTRAL DISTRICT OF CALIFORNIA

Case number (if known)                                                      Chapter      11
                                                                                                                              Check if this an
                                                                                                                              amended filing




Official Form 201
Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                                                           04/20
If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write the debtor's name and the case number (if
known). For more information, a separate document, Instructions for Bankruptcy Forms for Non-Individuals, is available.


1.   Debtor's name                SSRE Holdings, LLC

2.   All other names debtor
     used in the last 8 years
     Include any assumed          DBA Signature Fresh
     names, trade names and
     doing business as names

3.   Debtor's federal
     Employer Identification      XX-XXXXXXX
     Number (EIN)


4.   Debtor's address             Principal place of business                                     Mailing address, if different from principal place of
                                                                                                  business

                                  18901 Railroad Street                                           1435 N Harbor Blvd #43
                                  Rowland Heights, CA 91748                                       Fullerton, CA 92835
                                  Number, Street, City, State & ZIP Code                          P.O. Box, Number, Street, City, State & ZIP Code

                                  Los Angeles                                                     Location of principal assets, if different from principal
                                  County                                                          place of business

                                                                                                  Number, Street, City, State & ZIP Code


5.   Debtor's website (URL)


6.   Type of debtor                   Corporation (including Limited Liability Company (LLC) and Limited Liability Partnership (LLP))
                                      Partnership (excluding LLP)
                                      Other. Specify:




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Debtor    SSRE Holdings, LLC                                                                           Case number (if known)
          Name



7.   Describe debtor's business        A. Check one:
                                          Health Care Business (as defined in 11 U.S.C. § 101(27A))
                                          Single Asset Real Estate (as defined in 11 U.S.C. § 101(51B))
                                          Railroad (as defined in 11 U.S.C. § 101(44))
                                          Stockbroker (as defined in 11 U.S.C. § 101(53A))
                                          Commodity Broker (as defined in 11 U.S.C. § 101(6))
                                          Clearing Bank (as defined in 11 U.S.C. § 781(3))

                                          None of the above

                                       B. Check all that apply
                                          Tax-exempt entity (as described in 26 U.S.C. §501)
                                          Investment company, including hedge fund or pooled investment vehicle (as defined in 15 U.S.C. §80a-3)
                                          Investment advisor (as defined in 15 U.S.C. §80b-2(a)(11))

                                       C. NAICS (North American Industry Classification System) 4-digit code that best describes debtor.
                                          See http://www.uscourts.gov/four-digit-national-association-naics-codes.



8.   Under which chapter of the        Check one:
     Bankruptcy Code is the
                                          Chapter 7
     debtor filing?
                                          Chapter 9

     A debtor who is a “small             Chapter 11. Check all that apply:
     business debtor” must check
     the first sub-box. A debtor as                              The debtor is a small business debtor as defined in 11 U.S.C. § 101(51D), and its aggregate
     defined in § 1182(1) who                                    noncontingent liquidated debts (excluding debts owed to insiders or affiliates) are less than
     elects to proceed under                                     $2,725,625. If this sub-box is selected, attach the most recent balance sheet, statement of
     subchapter V of chapter 11                                  operations, cash-flow statement, and federal income tax return or if any of these documents do not
     (whether or not the debtor is a                             exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
     “small business debtor”) must                               The debtor is a debtor as defined in 11 U.S.C. § 1182(1), its aggregate noncontingent liquidated
     check the second sub-box.
                                                                 debts (excluding debts owed to insiders or affiliates) are less than $7,500,000, and it chooses to
                                                                 proceed under Subchapter V of Chapter 11. If this sub-box is selected, attach the most recent
                                                                 balance sheet, statement of operations, cash-flow statement, and federal income tax return, or if
                                                                 any of these documents do not exist, follow the procedure in 11 U.S.C. § 1116(1)(B).
                                                                 A plan is being filed with this petition.
                                                                 Acceptances of the plan were solicited prepetition from one or more classes of creditors, in
                                                                 accordance with 11 U.S.C. § 1126(b).
                                                                 The debtor is required to file periodic reports (for example, 10K and 10Q) with the Securities and
                                                                 Exchange Commission according to § 13 or 15(d) of the Securities Exchange Act of 1934. File the
                                                                 Attachment to Voluntary Petition for Non-Individuals Filing for Bankruptcy under Chapter 11
                                                                 (Official Form 201A) with this form.
                                                                 The debtor is a shell company as defined in the Securities Exchange Act of 1934 Rule 12b-2.
                                          Chapter 12

9.   Were prior bankruptcy                No.
     cases filed by or against
     the debtor within the last 8         Yes.
     years?
     If more than 2 cases, attach a
     separate list.                               District                                When                                  Case number
                                                  District                                When                                  Case number


10. Are any bankruptcy cases              No
    pending or being filed by a
    business partner or an                Yes.
    affiliate of the debtor?
     List all cases. If more than 1,
     attach a separate list                       Debtor                                                                    Relationship
                                                  District                                When                              Case number, if known


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Debtor   SSRE Holdings, LLC                                                                        Case number (if known)
         Name



11. Why is the case filed in    Check all that apply:
    this district?
                                         Debtor has had its domicile, principal place of business, or principal assets in this district for 180 days immediately
                                         preceding the date of this petition or for a longer part of such 180 days than in any other district.
                                         A bankruptcy case concerning debtor's affiliate, general partner, or partnership is pending in this district.

12. Does the debtor own or          No
    have possession of any
    real property or personal                Answer below for each property that needs immediate attention. Attach additional sheets if needed.
                                    Yes.
    property that needs
    immediate attention?                     Why does the property need immediate attention? (Check all that apply.)
                                                It poses or is alleged to pose a threat of imminent and identifiable hazard to public health or safety.
                                               What is the hazard?
                                                It needs to be physically secured or protected from the weather.
                                                It includes perishable goods or assets that could quickly deteriorate or lose value without attention (for example,
                                               livestock, seasonal goods, meat, dairy, produce, or securities-related assets or other options).
                                                Other
                                             Where is the property?
                                                                              Number, Street, City, State & ZIP Code
                                             Is the property insured?
                                                No
                                                Yes.    Insurance agency
                                                        Contact name
                                                        Phone



         Statistical and administrative information

13. Debtor's estimation of      .         Check one:
    available funds
                                             Funds will be available for distribution to unsecured creditors.
                                             After any administrative expenses are paid, no funds will be available to unsecured creditors.

14. Estimated number of             1-49                                             1,000-5,000                                 25,001-50,000
    creditors                                                                        5001-10,000                                 50,001-100,000
                                    50-99
                                    100-199                                          10,001-25,000                               More than100,000
                                    200-999

15. Estimated Assets                $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion


16. Estimated liabilities           $0 - $50,000                                     $1,000,001 - $10 million                    $500,000,001 - $1 billion
                                    $50,001 - $100,000                               $10,000,001 - $50 million                   $1,000,000,001 - $10 billion
                                    $100,001 - $500,000                              $50,000,001 - $100 million                  $10,000,000,001 - $50 billion
                                    $500,001 - $1 million                            $100,000,001 - $500 million                 More than $50 billion




Official Form 201                           Voluntary Petition for Non-Individuals Filing for Bankruptcy                                                   page 3
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Debtor    SSRE Holdings, LLC                                                                       Case number (if known)
          Name



          Request for Relief, Declaration, and Signatures

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement in connection with a bankruptcy case can result in fines up to $500,000 or
           imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341, 1519, and 3571.

17. Declaration and signature
    of authorized                The debtor requests relief in accordance with the chapter of title 11, United States Code, specified in this petition.
    representative of debtor
                                 I have been authorized to file this petition on behalf of the debtor.

                                 I have examined the information in this petition and have a reasonable belief that the information is true and correct.

                                 I declare under penalty of perjury that the foregoing is true and correct.

                                 Executed on      January 15, 2021
                                                  MM / DD / YYYY


                             X   /s/ Stanley Wetch                                                        Stanley Wetch
                                 Signature of authorized representative of debtor                         Printed name

                                 Title   Manager




18. Signature of attorney    X   /s/ Stephen R. Wade                                                       Date January 15, 2021
                                 Signature of attorney for debtor                                               MM / DD / YYYY

                                 Stephen R. Wade 79219
                                 Printed name

                                 LAW OFFICES OF STEPHEN R. WADE, P. C.
                                 Firm name

                                 405 N. Indian Hill Blvd.
                                 Claremont, CA 91711
                                 Number, Street, City, State & ZIP Code


                                 Contact phone     (909) 985-6500                Email address      srw@srwadelaw.com

                                 79219 CA
                                 Bar number and State




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 Fill in this information to identify the case:

 Debtor name         SSRE Holdings, LLC

 United States Bankruptcy Court for the:            CENTRAL DISTRICT OF CALIFORNIA

 Case number (if known)
                                                                                                                                 Check if this is an
                                                                                                                                 amended filing



Official Form 202
Declaration Under Penalty of Perjury for Non-Individual Debtors                                                                                        12/15

An individual who is authorized to act on behalf of a non-individual debtor, such as a corporation or partnership, must sign and submit this
form for the schedules of assets and liabilities, any other document that requires a declaration that is not included in the document, and any
amendments of those documents. This form must state the individual’s position or relationship to the debtor, the identity of the document,
and the date. Bankruptcy Rules 1008 and 9011.

WARNING -- Bankruptcy fraud is a serious crime. Making a false statement, concealing property, or obtaining money or property by fraud in
connection with a bankruptcy case can result in fines up to $500,000 or imprisonment for up to 20 years, or both. 18 U.S.C. §§ 152, 1341,
1519, and 3571.



                Declaration and signature


       I am the president, another officer, or an authorized agent of the corporation; a member or an authorized agent of the partnership; or another
       individual serving as a representative of the debtor in this case.

       I have examined the information in the documents checked below and I have a reasonable belief that the information is true and correct:

                  Schedule A/B: Assets–Real and Personal Property (Official Form 206A/B)
                  Schedule D: Creditors Who Have Claims Secured by Property (Official Form 206D)
                  Schedule E/F: Creditors Who Have Unsecured Claims (Official Form 206E/F)
                  Schedule G: Executory Contracts and Unexpired Leases (Official Form 206G)
                  Schedule H: Codebtors (Official Form 206H)
                  Summary of Assets and Liabilities for Non-Individuals (Official Form 206Sum)
                  Amended Schedule
                  Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and Are Not Insiders (Official Form 204)
                  Other document that requires a declaration

       I declare under penalty of perjury that the foregoing is true and correct.

        Executed on          January 15, 2021                        X /s/ Stanley Wetch
                                                                       Signature of individual signing on behalf of debtor

                                                                       Stanley Wetch
                                                                       Printed name

                                                                       Manager
                                                                       Position or relationship to debtor




Official Form 202                                             Declaration Under Penalty of Perjury for Non-Individual Debtors
Software Copyright (c) 1996-2020 Best Case, LLC - www.bestcase.com                                                                        Best Case Bankruptcy
                    Case 2:21-bk-10327-WB                            Doc 1 Filed 01/15/21 Entered 01/15/21 18:03:27                                              Desc
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 Fill in this information to identify the case:
 Debtor name SSRE Holdings, LLC
 United States Bankruptcy Court for the: CENTRAL DISTRICT OF                                                                                          Check if this is an
                                                CALIFORNIA
 Case number (if known):                                                                                                                              amended filing




Official Form 204
Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured Claims and
Are Not Insiders                                                                           12/15

A list of creditors holding the 20 largest unsecured claims must be filed in a Chapter 11 or Chapter 9 case. Include claims which the
debtor disputes. Do not include claims by any person or entity who is an insider, as defined in 11 U.S.C. § 101(31). Also, do not
include claims by secured creditors, unless the unsecured claim resulting from inadequate collateral value places the creditor
among the holders of the 20 largest unsecured claims.

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 Worldwide Produce                                                                                                                                                      $107,386.25
 2652 Long Beach
 Ave #2
 Los Angeles, CA
 90058
 LaborNow, Inc.                                                                                                                                                           $63,370.21
 2670 East Slauson
 Ave
 "A"
 Huntington Park, CA
 90255
 Southern California                                                                                                                                                      $47,706.18
 Edison

 LO Entertainment                                                                       Contingent                                                                        $38,800.00
 LLC                                                                                    Unliquidated
 12514 Landale                                                                          Disputed
 Street                                                                                 Subject to
 Studio City, CA                                                                        Setoff
 91604
 Porky Products Inc                                                                                                                                                       $26,880.07
 5230 Las Virgines
 Rd
 #275
 Calabasas, CA
 91302
 Bakemark                                                                                                                                                                 $25,462.50
 7351 Crider Avenue
 Pico Rivera, CA
 90660
 Absolute Industrial                                                                                                                                                      $23,600.90
 Supplies Inc.
 10540 Humboldt
 Street
 Los Alamitos, CA
 90720



Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 1

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 Debtor    SSRE Holdings, LLC                                                                                 Case number (if known)
           Name

 Name of creditor and      Name, telephone number Nature of claim                        Indicate if claim   Amount of claim
 complete mailing address, and email address of   (for example, trade                     is contingent,     If the claim is fully unsecured, fill in only unsecured claim amount. If
 including zip code        creditor contact       debts, bank loans,                     unliquidated, or    claim is partially secured, fill in total claim amount and deduction for
                                                  professional services,                     disputed        value of collateral or setoff to calculate unsecured claim.
                                                  and government                                             Total claim, if            Deduction for value        Unsecured claim
                                                  contracts)                                                 partially secured          of collateral or setoff
 IFS                                                                                                                                                                      $15,674.88
 5496 Lindbergh Ln
 Bell Gardens, CA
 90201
 Rich Moore Design                                                                                                                                                        $15,000.00

 Precision                                                                                                                                                                $14,609.29
 Refrigeration & Air
 Condi
 9726 Klingerman
 Street
 South El Monte, CA
 91733
 Lifeway                                                                                Contingent                                                                        $14,400.00
                                                                                        Unliquidated
                                                                                        Disputed
 Cintas                                                                                                                                                                   $10,599.43
 2150 South
 Proforma Avenue
 Ontario, CA 91761
 Synergy Logistics,                                                                                                                                                       $10,100.55
 LLC
 5240 West 47th
 Street
 Chicago, IL 60638
 Americold-Dallas                                                                                                                                                           $9,182.38
 5210 Catron Drive
 San Antonio, TX
 78227
 Valley Vista-Regular                                                                                                                                                       $8,206.08

 Electrix Electrical                                                                                                                                                        $8,100.00
 Contracting

 AMPAC Services                                                                                                                                                             $7,871.80
 Inc.
 8388 Rovana Circle
 Suite A
 Sacramento, CA
 95828-2534
 Mozaik                                                                                                                                                                     $7,409.50

 On Computers &                                                                                                                                                             $5,688.65
 Network Inc

 VIA International                                                                                                                                                          $5,000.00
 Management Consul




Official form 204                                Chapter 11 or Chapter 9 Cases: List of Creditors Who Have the 20 Largest Unsecured claims                                 page 2

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                       SSRE Holdings, LLC
                       1435 N Harbor Blvd #43
                       Fullerton, CA 92835


                       Stephen R. Wade
                       LAW OFFICES OF STEPHEN R. WADE, P. C.
                       405 N. Indian Hill Blvd.
                       Claremont, CA 91711


                       Absolute Industrial Supplies Inc.
                       10540 Humboldt Street
                       Los Alamitos, CA 90720


                       AM TRANS Expedite
                       710 West Belden Avenue
                       Suite B
                       Addison, IL 60101-4936


                       Americold-Dallas
                       5210 Catron Drive
                       San Antonio, TX 78227


                       Americold-Vernon
                       3420 East Vernon Avenue
                       Los Angeles, CA 90058


                       AMPAC Services Inc.
                       8388 Rovana Circle
                       Suite A
                       Sacramento, CA 95828-2534


                       Apollo Technologies, Inc.
                       31441 Santa Margarita Pkwy
                       Rancho Santa Margarita, CA 92688
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                   Bakemark
                   7351 Crider Avenue
                   Pico Rivera, CA 90660


                   Cintas
                   2150 South Proforma Avenue
                   Ontario, CA 91761


                   CLH Transportation
                   1700 Hamner Avenue
                   Norco, CA 92860


                   Crown Linen Services
                   5460 Olive Street
                   Montclair, CA 91763


                   Electrix Electrical Contracting



                   IFS
                   5496 Lindbergh Ln
                   Bell Gardens, CA 90201


                   Interstate Warehousing of Indiana
                   1401 South Keystone Avenue
                   Indianapolis, IN 46203


                   ISD Enterprises, Inc.
                   4841 Lewis Rd
                   Stone Mountain, GA 30083-1101
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                   LaborNow, Inc.
                   2670 East Slauson Ave
                   "A"
                   Huntington Park, CA 90255


                   Lifeway



                   LO Entertainment LLC
                   12514 Landale Street
                   Studio City, CA 91604


                   Lutz Marketing
                   1150 Vine Street
                   Cincinnati, OH 45202


                   Midland Equipment Financing
                   110 South 5th Street
                   Effingham, IL 62401


                   Mozaik



                   On Computers & Network Inc



                   Orkin
                   1116 North Fountain Way
                   Anaheim, CA 92806
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                   OS4Labor
                   120 North Fairway Ln
                   West Covina, CA 91791


                   Porky Products Inc
                   5230 Las Virgines Rd
                   #275
                   Calabasas, CA 91302


                   Precision Refrigeration & Air Condi
                   9726 Klingerman Street
                   South El Monte, CA 91733


                   RA Logistics LLC
                   801 East Plano Pkwy #212
                   Plano, TX 75074


                   RBS Logistics Group Inc
                   70 East Sunrise Hwy #500
                   Valley Strean, NY


                   Ready Refresh



                   Rich Moore Design



                   Robert's Liquid Disposal
                   14018 Carmenita Rd
                   Santa Fe Springs, CA 90670
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                   Rowland Water District
                   3021 Fullerton Rd
                   Rowland Heights, CA 91748


                   Sharpiro Gilman Shandler Produce
                   739 Decatur Street
                   Los Angeles, CA 90021


                   Shepard Bros. Inc.
                   503 South Cypress Street
                   La Habra, CA 90631


                   SoCalGas



                   Southern California Edison



                   Synergy Logistics, LLC
                   5240 West 47th Street
                   Chicago, IL 60638


                   TCF National Bank



                   Valley Vista - Compactor Rental
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                   Valley Vista-Regular



                   VIA International Management Consul



                   Weiler West, Inc



                   WiLine Networks Inc



                   Worldwide Produce
                   2652 Long Beach Ave #2
                   Los Angeles, CA 90058


                   Zirkle Group Inc.
                   979 Roxbury Rd
                   San Marino, CA 91108-2442
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Attorney or Party Name, Address, Telephone & FAX Nos., and State Bar No. &        FOR COURT USE ONLY
Email Address
Stephen R. Wade 79219
405 N. Indian Hill Blvd.
Claremont, CA 91711
(909) 985-6500 Fax: (909) 912-8887
California State Bar Number: 79219 CA
srw@srwadelaw.com




     Attorney for:
                                                UNITED STATES BANKRUPTCY COURT
                                                 CENTRAL DISTRICT OF CALIFORNIA

In re:                                                                        CASE NO.:
          SSRE Holdings, LLC                                                  ADVERSARY NO.:
                                                                   Debtor(s), CHAPTER: 11

                                                                  Plaintiff(s),
                                                                                    CORPORATE OWNERSHIP STATEMENT
                                                                                       PURSUANT TO FRBP 1007(a)(1)
                                                                                         and 7007.1, and LBR 1007-4

                                                                                                                   [No hearing]
                                                              Defendant(s).

Pursuant to FRBP 1007(a)(1) and 7007.1, and LBR 1007-4, any corporation, other than a governmental unit, that is a debtor in
a voluntary case or a party to an adversary proceeding or a contested matter shall file this Statement identifying all its parent
corporations and listing any publicly held company, other than a governmental unit, that directly or indirectly own 10% or more
of any class of the corporation’s equity interest, or state that there are no entities to report. This Corporate Ownership
Statement must be filed with the initial pleading filed by a corporate entity in a case or adversary proceeding. A supplemental
statement must promptly be filed upon any change in circumstances that renders this Corporate Ownership Statement
inaccurate.

I,    Stephen R. Wade 79219                                                   , the undersigned in the above-captioned case, hereby declare
                 (Print Name of Attorney or Declarant)
under penalty of perjury under the laws of the United States of America that the following is true and correct:




___________________________________________________________________________
                This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                F 1007-4.CORP.OWNERSHIP.STMT
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[Check the appropriate boxes and, if applicable, provide the required information.]
1.          I have personal knowledge of the matters set forth in this Statement because:
               I am the president or other officer or an authorized agent of the Debtor corporation
               I am a party to an adversary proceeding
               I am a party to a contested matter
               I am the attorney for the Debtor corporation
2.a.           The following entities, other than the debtor or a governmental unit, directly or indirectly own 10% or more of any
                class of the corporation’s(s’) equity interests:
                [For additional names, attach an addendum to this form.]
     b.        There are no entities that directly or indirectly own 10% or more of any class of the corporation’s equity interest.

January 15, 2021                                                                          By:     /s/ Stephen R. Wade
Date                                                                                              Signature of Debtor, or attorney for Debtor

                                                                                          Name:         Stephen R. Wade 79219
                                                                                                        Printed name of Debtor, or attorney for
                                                                                                        Debtor




___________________________________________________________________________
                  This form is optional. It has been approved for use by the United States Bankruptcy Court for the Central District of California.
December 2012                                                                                                  F 1007-4.CORP.OWNERSHIP.STMT
